  Case 5:08-cr-00020-DCB-LRA   Document 157   Filed 05/04/09   Page 1 of 1



                  IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                            WESTERN DIVISION


UNITED STATES OF AMERICA


VERSUS                          CRIMINAL ACTION NO. 5:08CR20-DCB-LRA


CHARLES GAVIN A/K/A CHARLIE
GAVIN and CHARLES MCCULLOUGH                                    DEFENDANTS


                                 ORDER
        This matter came before the Court for trial by jury on April

20-28, 2009. The defendants, Charles Gavin and Charles McCullough,

were found guilty as to the single count in the indictment,

conspiracy to commit murder for hire in violation of 18 U.S.C. §

1958.

        A judgment of guilt was entered by the Court in accordance

with the verdict of the jury, and a written judgment of guilt and

conviction is hereby entered.

        The defendants are advised that they have the right to appeal

both their convictions and their sentences which will be imposed
upon them on July 9, 2009.

        SO ORDERED, this the 1st day of May, 2009.



                                             s/ David Bramlette
                                         UNITED STATES DISTRICT JUDGE
